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               EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

RANDY BENZON, individually and on               §     Civ. A. No. H-14-2582
behalf of all others similarly situated,        §
                                                §
                   Plaintiff,                   §
                                                §
vs.                                             §     JURY TRIAL DEMANDED
                                                §
NATIONAL OILWELL VARCO, L.P.,                   §     COLLECTIVE ACTION PURSUANT
                                                §     TO 29 U.S.C. § 216(b)
                   Defendant.                   §
                                                §



          CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE



         This Confidential Settlement Agreement and Release ("Settlement Agreement") is
 entered into between Plaintiff Randy Benzon ("Benzon" or "Plaintiff'), tl1e Opt-in Plaintiffs
 (as defined below), through their representative Benzon, and Defendant National Oilwell
 Varco, L.P. ("NOV" or "Defendant") (together, the "Parties") subject to the approval of the
 Court.

                                          RECITALS

        1.       Benzon, individually and on behalf of the Opt-In Plaintiffs (as defined
 below), assert that Defendant failed to pay proper overtime wages under the Fair Labor
 Standards Act, 29 U.S.C. § 201, et seq. ("FLSA").

          2.     As a result of the Parties' arms'-length negotiations, the Parties have agreed
 to settle the Action (as defined below) according to the terms of this Settlement Agreement.

         3.      Class Counsel has made a thorough and independent investigation of the
 facts and law relating to the allegations in the Action. In agreeing to this Settlement
 Agreement, Class Counsel has considered: (a) the facts developed during the Parties'
 Alternative Dispute Resolution ("ADR") process and the law applicable thereto; (b) the
 attendant risks of continued litigation and the uncertainty of the outcome of the claims
 alleged against Defendant; and (c) the desirability of consummating this settlement according
 to the terms of this Settlement Agreement. Benzon has concluded that the terms of this
 settlement are fair, reasonable and adequate, and that it is in the best interests of Benzon and
 the Opt-in Plaintiffs to settle their claims against Defendant pursuant to the terms set forth
 herein.
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          7.f.   "Cost Allowance" means the amount of out-of-pocket costs the
                 Court authorizes to be reimbursed to Class Counsel in an amount not
                 to exceed $          . The Cost Allowance shall be paid to Class
                 Counsel from the Gross Settlement Amount.

          7.g.   "Defendant's Counsel" means LOCI<E LORD LLP.

          7.h.   "Eligible Class Members" refers to Benzon and the Opt-in Plaintiffs
                 (as defined below).

          7.i.   "Effective Date" means the first business day following the Court's
                 Approval Order.

          7.j.   "Fee Award" means the award of attorneys' fees that the Court
                 authorizes to be paid to Class Counsel for the services they provided
                 to Benzon and the Opt-in Plaintiffs in an amount not to exceed
                 $           . The Fee Award will compensate Class Counsel for all
                 work performed in the Action as of the date of this Settlement
                 Agreement as well as all of the work remaining to be performed
                 through the Effective Date, including, but not limited to,
                 documenting the Settlement Agreement, securing Court approval of
                 the Settlement Agreement, making sure that the settlement is fairly
                 administered and implemented, and obtaining final dismissal of the
                 Action. The Fee Award shall be paid to Class Counsel from the
                 Gross Settlement Amount.

          7.k.   "Gross Settlement Amount" means the maximum amount that
                 Defendant shall pay in exchange for the release of all Released Claims
                 (as defined below) by the Eligible Class Members, which is the sum
                 of                                           ($            ), excluding
                 the employer's share of FICA and FUTA payroll taxes and all
                 applicable taxes under state law. In no event, shall the Gross
                 Settlement Amount exceed this sum, plus Defendant's share of FICA
                 and FUTA payroll taxes.

          7.1.   "Net Settlement Amount" means the Gross Settlement Amount less
                 the Fee Award, less the Cost Allowance, and less the Service Award
                 (defined below). The Parties acknowledge that all of these amounts
                 are subject to the Court's approval.

          7.m.   "Opt-in Plaintiffs" means those individuals who filed consents to
                 join this collective action, and who are named on Exhibit A to this
                 Settlement Agreement.

          7.n.   "Released Claims" means any and all state, local, or federal claims,
                 obligations, demands, actions, rights, causes of action, and liabilities,
                 whether known or unknown, against Releasees for alleged unpaid
                 overtime wages, liquidated damages, any other damages, unpaid


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